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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

 Case No.          CV 12-7590 ABC (VBKx)                                           Date    December 21, 2012
 Title             Harout Madenian v. Bank of America, N.A. et al



 Present: The                    Audrey B. Collins, United States District Judge
 Honorable
                Angela Bridges                              Not Present                            N/A
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             None                                                   None
 Proceedings:                 ORDER GRANTING MOTION TO DISMISS (In Chambers)

       On November 15, 2012, Target National Bank (“Defendant”) filed a Motion to Dismiss
(“Motion”). (Docket no. 29.) On November 26, 2012, Plaintiff filed an Opposition. (Docket no. 37.)
On December 3, 2012, Defendant filed a Reply. (Docket no. 39.) The Court took the Motion under
submission. For the following reasons, the Court GRANTS the Motion.

                                                    DISCUSSION

        In this action, Plaintiff sued six banks and credit card companies for five claims relating to credit
reporting and debt collection. The Court has already granted motions to dismiss five of the defendants,
both on the merits and because Plaintiff did not oppose the motions. Only defendant Target National
Bank remains, and Plaintiff has submitted an Opposition to its Motion to Dismiss.

       The Court notes that portions of Plaintiff’s Opposition do not relate to this case. For example,
the Opposition refers to a First Amended Complaint, states that Plaintiff filed this action in August 2012
based on credit reporting problems that the Plaintiff discovered in April 2010, and refers to Plaintiff as
“she.” Meanwhile, the docket reflects that no First Amended Complaint has been filed in this case, the
Complaint was filed in September 2012 and focuses on credit reporting problems Plaintiff noticed in
April 2012, and refers to plaintiff as “he.” There are, however, certain references in the Opposition to
Defendant Target National Bank, so the Court will consider the Opposition.

        As the Court noted in its orders granting the other Defendants’ Motion to Dismiss, “[i]nstead of
alleging each Defendant’s misconduct, Plaintiff[’s Complaint] simply lumped all Defendants together,
making no factual allegations about any of them in particular. The Complaint therefore fails to put any
Defendant notice of the factual basis of the claims against it, and therefore falls short of Fed. R. Civ. P.
8. Dismissal under Fed. R. Civ. P. 12(b)(6) is therefore appropriate.” See, e.g., November 15, 2012
Minute Orders (docket nos. 33, 34). The same reasoning applies with respect to Defendant Target.

        In addition, Plaintiff concedes that none of his claims are properly pled, either because the cited
statutes do not provide a private right of action or because Target is not a proper defendant for those
claims. But Plaintiff also seeks leave to amend three of his claims. Plaintiff’s request for leave to
amend is not persuasive. Plaintiff refers to his “intention” to amend his Complaint, but fails to explain
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                              UNITED STATES DISTRICT COURT
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what amendments he would make and how such amendments would cure his thoroughly inadequate
Complaint. The Court does not always require great specificity for requests for leave to amend
complaints in response to a motion to dismiss. But where, as here, the Complaint is utterly defective,
the Opposition brief appears to have been pro forma, and Plaintiff failed to Oppose motions to dismiss
five other Defendants, Plaintiff’s perfunctory request for leave is simply not credible. Were Plaintiff
earnest in his stated intention to amend his Complaint or if amendment could have salvaged his claims,
he could have simply amended the Complaint in response to the Motion, or in response to the several
Motions already granted as unopposed. Plaintiff did not do so. The Court is not persuaded that
amendment could cure the pervasive defects in Plaintiff’s Complaint, and therefore DENIES leave to
amend.

                                            CONCLUSION

         For the foregoing reasons, Target National Bank’s Motion to Dismiss is GRANTED.


         IT IS SO ORDERED.
                                                                                            :
                                                          Initials of Preparer         AB




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